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                                             November 2, 2020
                                                                       USDC SDNY
By ECF                                                                 DOCUMENT
                                                                       ELECTRONICALLY FILED
Honorable Gregory H. Woods
                                                                       DOC #:
United States District Judge
                                                                       DATE FILED: 11/5/2020
Southern District of New York
40 Foley Square
New York, New York 10007                                MEMORANDUM ENDORSED
Re:    United States v. Medghyne Calonge, 20 Cr. 523 (GHW)

Dear Judge Woods:

        I write on consent (Assistant U.S. Attorney Timothy Capozzi) to respectfully request that
the Court modify Ms. Calonge’s bail conditions by removing the condition requiring one co-
signer on the personal recognizance bond executed in this case.

       Medghyne Calonge was arrested in the Middle District of Florida on October 9, 2020,
and presented in this district on October 19, 2020. Judge Cott set bail conditions including a
$50,000 personal recognizance bond to be co-signed by one person, and supervision as directed
by the Pretrial Services Office. At the presentment, I told Judge Cott that we may have difficulty
securing a co-signer because Ms. Calonge currently has a strained relationship with the adult
members of her family, and lives a largely isolated existence caring for her two children. Judge
Cott indicated at the presentment that if the co-signatory condition could not be met by today,
counsel could seek a further modification.

        I respectfully request that the Court remove the condition of securing a co-signer at this
time. Ms. Calonge does not pose a risk of flight. She has lived in Tampa, Florida for decades; has
two school-age children; has recently bought a home; has virtually no criminal history; and has
been wholly compliant with all the conditions of release. Moreover, as Ms. Calonge well
recognizes, the penalties for failing to appear are likely far greater than the penalties Ms.
Calonge faces if convicted of the charged offense. As noted above, the Government consents to
this request.

                                             Respectfully submitted,


Application granted. The Court removes the condition requiring that Ms. Calogne secure a co-signer. All
other conditions of the defendant’s pre-trial release remain in full force and effect.

SO ORDERED.

Dated: November 5, 2020                   _____________________________________
New York, New York                              GREGORY H. WOODS
                                               United States District Judge
